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Exhibit G
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IN RE NEURONTIN MARKETING AND
SALES PRACTICES LITIGATION

MDL Docket No. 1629

Master File No. 04-10981

THIS DOCUMENT RELATES TO:

ALL ACTIONS Judge Patti B. Saris

DECLARATION OF LINDA P. NUSSBAUM IN SUPPORT OF
APPOINTMENT TO PLAINTIFES’ STEERING COMMITTEE

I, Linda P. Nussbaum, depose and state as follows:

1. | am a partner at the law firm of Cohen, Milstein, Hausfeld & Toll, P.L.L.C. Ihave
extensive experience in prosecuting and litigating complex litigation. I have full knowledge of
the matters stated herein and would testify thereto.

2. Our firm has extensive experience prosecuting class actions. Attached hereto as
Exhibit A is the firms résumé. Our experience includes the following relevant matters:

a. We have been appointed or acted as lead counsel or co-lead counsel in numerous
nationwide, complex commercial class actions, including but not limited to: In re

Flat Glass Antitrust Litigation, MDL No. 1200, (W.D. Pa.)}; IVAX Corp. v.

Atofina Chemicals, Inc., et al., Civ. No. 02-00593 (D.D.C.); Kruman v. Christie’s

International PLC, et al., Docket No. 01-7309; In re Microsoft Corp. Antitrust

Litigation, MDL No. 1332 (D. Md.); In re Commercial Explosives Antitrust

Litigation (D. Utah); In re Commercial Tissue Antitrust Litigation (N.D. Fla);

Cothran v. Brunswick Corp. (S.D. Ill.); In re Domestic Air Transportation

Antitrust Litigation (N.D. Ga.) and In re Infant Formula Consumer Antitrust

Litigation (multiple state courts).
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b. We have also been appointed or acted as lead counsel or co-lead counsel in
numerous class actions involving pharmaceutical marketing and sales practices,

including, North Shore Hematology-Oncology Associates, P.C. v. Bristol-Myers

Squibb Co., Case No.1:04cv248 (EGS) (D.D.C.); In re Lupron Marketing and

Sales Practices Litigation, No. 01-10861-RGS (D. Mass.); In re Relafen®

Antitrust Litigation, No. 01-12239-WGY (D. Mass.); In re Vitamins Antitrust

Litigation, MDL No. 1285 (D.D.C.); Oncology & Radiation Associates, P.A. v.

Bristol Myers Squibb Co., et al., Case No. 1:01CV02313 (D.D.C.); In re

Lorazepam and Clorazepate Antitrust Litigation, MDL No.1290 (D.D.C.); and In

Re Buspirone Antitrust Litigation, MDL No. 1413 (S.D.N_Y.).

3. Our firm began investigating the claims raised in this litigation, and other potential
causes of action that could be raised, well before this litigation commenced, including
researching publicly available documents and applicable law to develop theories of liability,
meeting with persons knowledgeable in pharmaceutical marketing and sales practices, and
interviewing clients,

4, Our firm represents numerous business entities, including medical practices, in class
actions involving claims against pharmaceutical companies for marketing and sales policies.
Thus, our firm has experience with such issues as the pharmaceutical market, including the
marketing, sale and regulatory process for branded and generic drugs, and related damages
calculations.

>. Our firm is committed and has demonstrated its commitment to expend whatever
resources are necessary—of time, personnel, and money—to prosecute this action and represent the

class.
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I declare under penalty of perjury that the foregoing is true and correct.

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Dated: December 9, 2004 ee

Linda P. Nussbaum
COHEN
MILSTEIN
HAUSFELD
&
TOLL,
PLLC.
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COHEN, MILSTEIN, HAUSFELD & TOLL, PLLC.

COHEN, MILSTEIN, HAUSFELD & TOLL, P.L.L.C. is widely recognized as one of the leading
plaintiffs’ law firms in the United States. Cohen, Milstein, Hausfeld & Toll, P.L.L.C. represents
individuals and smal! businesses in many of the major class action cases litigated in the United States for
violations of the antitrust laws. The firm is one of best-known firms handling plaintiffs’ class actions in
the country and is at the forefront of numerous innovative legal actions that are expanding the quality and
availability of legal recourse for aggrieved individuals and businesses. Cohen, Milstein, Hausfeld & Toll,
P.L.L.C. has obtained numerous landmark judgments and settlements for individuals and businesses in
the United States and abroad. The firm’s most significant antitrust cases include:

* In re Relafen® Antitrust Litigation, No. 01-12239-WGY (D. Mass.). CMHT has served as

co-lead counsel on behalf of a class of direct purchasers of Relafen -- a non-steroidal anti-

inflammatory drug sold by SmithKline Beecham Corporation PLC and GlaxoSmithKline

Beecham Corporation PLC (collectively, "GSK"). As alleged in the complaint, GSK unlawfully

extended its monopoly in the U.S. market for Relafen and its generic equivalents by fraudulently

procuring an invalid patent and using that invalid patent to prevent generic competition. On April

9, 2004, after significant litigation, the United States District Court for the District of
Massachusetts finally approved the $175 million settlement of this action.

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In re Vitamins Antitrust Litigation, MDL No. 1285 (D.D.C.}. Since 1999, Cohen,
Milstein, Hausfeld & Toll, P.L.L.C. has represented as co-lead counsel two certified classes of
businesses who directly purchased bulk vitamins and were overcharged as a result of a ten year
global price-fixing and market allocation conspiracy. Chief Judge Hogan has approved four major
settlements between certain vitamin defendants and Class Plaintiffs, including a landmark partial
settlement of $1.1 billion. In a recent trial before Chief Judge Hogan of four of Class Plaintiffs’
remaining unsettled Vitamin B4 (choline chloride) claims, a federal jury in Washington
unanimously found Japan's second largest trading company, Mitsui & Co., Ltd., its wholly owned
U.S. subsidiary Mitsui & Co, (U.S.A.), Inc., DuCoa, LP, a choline chloride manufacturer based in
Highland, Illinois, and DuCoa’s general partner, DCV, Inc. liable for participating in the
conspiracy and ordered them to pay $49,539,234, which is trebled to $148,617,702 under the
federal antitrust laws. (The case was subsequently settled against those defendants.)

* Nate Pease, et al. v. Jasper Wyman & Son, Inc., et al., Civil Action No. 00-015 (Knox
County Superior Court, Maine). Cohen, Milstein, Hausfeld & Toll, P.L.L.C. has been co-lead
counsel on this case since its inception in 2000. On November 18, 2003, a Maine state court jury
found three blueberry processing companies liable for participating in a four-year price-fixing and
non-solicitation conspiracy that artificially lowered the prices defendants paid to approximately
800 growers for wild blueberries. The jury ordered defendants Cherryfield Foods, Inc., Jasper

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Wyman & Son, Inc., and Allen’s Blueberry Freezer, Inc. to pay $18.68 million in damages, the
amount which the growers would have been paid absent the defendants’ conspiracy. After a
mandatory trebling of this damage figure under Maine antitrust law, the total amount of the
verdict for the plaintiffs is just over $56 million. The three defendants are jointly and severally
liable for the damages.

* Oncology & Radiation Associates, P.A. v. Bristol Myers Squibb Co., et al.. Case No.
1:01CV02313 (D.D.C.). Cohen, Milstein, Hausfeld & Toll, P.L.L.C. has been co-lead counsel in
this case since its inception in 2001. Plaintiffs alleged that Bristol-Myers Squibb unlawfully
monopolized the United States market for paclitaxel, a cancer drug discovered and developed by
the United States government, which Bristol sells under the brand name Taxol, Bristol’s scheme
included a conspiracy with American BioScience, Inc., a generic manufacturer, to block generic
competition. Cohen, Milstein’s investigation and prosecution of this litigation on behalf of direct
purchasers of Taxol led to a settlement of $65,815,000 that was finally approved by U.S. District
Judge Emmet G, Sullivan on August 14, 2003 and preceded numerous Taxol-related litigations
brought by the Federal Trade Commission and State Attorneys General offices,

* In re Lorazepam _and Clorazepate Antitrust Litigation, MDL No.1290, United States
District Court for the District of Columbia. Generic drug maker Mylan Pharmaceuticals, Inc.
entered exclusive deals to lock up supply of the raw ingredients for two popular anti-anxiety
medications. Mylan then raised the prices of the drugs by thousands of percent. CMHT served as
co-lead counsel and obtained a $ 35 million settlement for direct purchasers of the affected
medications.

* In re Flat Glass Antitrust Litigation, MDL No. 1200, United States District Court for the
Western District of Pennsylvania. Plaintiffs allege that the five major manufacturers of float glass
and automotive replacement glass conspired to fix prices on a wide variety of glass products.
CMHT served as co-lead counsel and obtained a total of $ 61.7 million in settlement funds on
behalf of glass shops, window manufacturers, and others who directly purchased the affected
products from the defendants.

* IVAX Corp. v. Atofina Chemicals, Inc., et al., Civ. No. 02-00593, United States District
Court for the District of Columbia. Plaintiffs allege that the major global producers of certain
chemicals known as organic peroxides have conspired to fix prices on their products, Organic
peroxides are used in the manufacture of plastics and certain rubber products. CMHT is lead
counsel and obtained a $16 million settlement with one defendant, Akzo Nobel Chemicals BV, on
behalf of direct purchasers of the chemicals. The remainder of the case is stil] pending.

* In Re Buspirone Antitrust Litigation, MDL No. 1413 (S.D.N.Y,). Plaintiffs allege that
Bristol Myers-Squibb Company, a producer of the drug BuSpar7, unlawfully maintained a

monopoly in violation of federal and state antitrust and unfair competition laws. A $90 million
settlement was preliminarily approved in April 2003. CMHT served as one of four co-lead
counsel,

* Kruman v. Christie’s International PLC, et al., Docket No. 01-7309. A $40 million

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settlement on behalf of all persons who bought or sold items through Christie’s or Sotheby’s
auction houses in non-internet actions was recently approved. CMHT served as one of three lead
counsel on behalf of foreign plaintiffs. In certifying the class and approving the settlement, Judge
Kaplan characterized the settlement as a “good result” particularly in light of the significant
obstacles that faced plaintiffs and plaintiffs’ counsel in the litigation. The settlement marks the
first time that claims on behalf of foreign plaintiffs under U.S. antitrust laws have resolved in a
U.S. court, a milestone in U.S. antitrust jurisprudence.

* In re Microsoft Corp. Antitrust Litigation, MDL No. 1332 (D. Md.). Cohen, Milstein,
Hausfeld & Toll, P.L.L.C. is one of two co-chairs of the plaintiffs’ lead counsel committee. The
firm is responsible for leading this massive litigation, not only on behalf of the dozens of cases
filed in federal court, but also through close coordination with the many state-court actions
pending around the country.

* In re Commercial Explosives Antitrust Litigation (D. Utah). Plaintiffs alleged a
conspiracy among manufacturers of explosives to set prices. Cohen, Milstein, Hausfeld & Toll,
P.L.L.C. was co-lead counsel in this price-fixing case that resulted in a settlement fund totaling
over $72 million.

* In re Commercial Tissue Antitrust Litigation (N.D. Fla). CMHT joined forces with the
State of Florida and other plaintiffs’ attorneys to bring this class action against the major
manufacturers of commercial tissue products which included commercially sold paper towels,
toilet tissue and napkins. The case was scheduled to go to trial in Gainesville, Florida just a few
months before it was settled. CMHT assisted in settling the case for $56 million.

* Cothran v. Brunswick Corp. (S.D. Ill.). Cohen, Milstein, Hausfeld & Toll, P.L.L.C. took a
lead role in representing a nationwide class of boat dealers on claims of monopolization of the
inboard and stern drive marine engine market. The case resulted in a settlement of over $20
million.

* In re Domestic Air Transportation Antitrust Litigation (N.D. Ga.). Plaintiffs alleged

conspiracy among major airlines to set prices. In one of the largest consumer class actions ever
brought to a successful conclusion, CMHT was one of the lead counsel and obtained a settlement
of travel discounts and cash totaling $458 million for the class of individuals and businesses.

* In re Infant Formula Consumer Antitrust Litigation (multiple state courts), Cohen,
Milstein, Hausfeld & Toll, P.L.L.C. instituted price-fixing cases on behalf of indirect-purchasers
in 17 states under state antitrust laws against three companies who conspired to drive up the price
of infant formula. The cases have resulted in settlements of $64 million for purchasers of infant
formula.

Cohen, Milstein, Hausfeld & Toll, P.L.L.C. was in the forefront of filing antitrust claims on behalf

of indirect purchasers. In 1993 and 1994, the firm filed state-court actions in 18 states on behalf of

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indirect purchasers of infant formula. This was the first effort to systematically and simultaneously
pursue treble damages claims on behalf of indirect-purchasing consumers in all states in which their
antitrust laws permitted such claims. This approach, and variations of it, have since become the accepted
model for pursuing antitrust damages on behalf of indirect-purchasing consumers. Prior to the infant
formula consumer litigation, state indirect cases had been filed almost exclusively in California, although
17 other states had the requisite legislation on their books.

Cohen, Milstein, Hausfeld & Toll, P.L.L.C. has been in the forefront of the development of
international antitrust theory and litigation of claims. As the global economy has produced world-wide
conglomerates, so too has the nature of antitrust violations changed. Thus, for example, in Kruman vy.
Christie's International PLC, et al., Docket No. 01-7309, and fn re Bulk Vitamins Antitrust Litigation,
MDL 1285 (D.D.C.), both the parties and the anticompetitive actions were played out on a world, rather
than domestic, stage.

Cohen, Milstein, Hausfeld & Toll, P.L.L.C. was established in March 1986 and has satellite offices
in New York and Chicago. From 1969 until its formation in 1986, the firm was the Washington, D.C.
office of the Philadelphia law firm currently known as Kohn, Swift & Graf, P.-C. Members of the firm
have played a prominent role in most of the major class actions since the Fed. R. Civ. R. 23 was amended
in 1966. These antitrust cases, organized by type of claims advanced, include:

Price-Fixing Cases

dn re North Atlantic Air Travel Antitrust Litigation, Civ. Action No. 84-1103 (D.D.C.). The firm,

as co-lead counsel, obtained a class settlement of $30 million in coupons for air travelers between

the United States and England;

in re Screws Antitrust Litigation, MDL No. 443 (D. Mass.). The firm, as co-lead counsel,

obtained a class settlement of approximately $20 million;

Ocean Shipping Antitrust Litigation, M.DL No. 395 (S.D.N.Y). The firm, as co-lead

counsel, obtained a class settlement of approximately $50 million;

in re Commercial Explosives Antitrust Litigation, Consolidated Case No. 2:96md 10938 (D.

Utah). The firm, as co-lead counsel, obtained a settlement of $77 million;
in re Ampicillin Antitrust Litigation, MDL No. 50 {D.D.C.). The firm represented the State of

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Michigan in a multidistrict litigation alleging a price-fixing conspiracy by manufacturers of
ampicillin;

In re Sugar Antitrust Litigation, MDL No. 210 (N.D. Cal.). The firm represented small
businesses/consumers alleging a price-fixing conspiracy among sugar refiners and obtained a
multi-million dollar settlement;

in re Travel Agent Commission Antitrust Litigation, MDL No. 1058 (D. Minn.). The firm
represented a class of travel agents claiming a horizontal price-fixing agreement by major airlines
and obtained a multi-million dollar settlement;

Nasdaq Market Makers Antitrust Litigation, MDL No, 1023 (S.D.N.Y.). The firm focused on
discovery and expert work in this case where a billion dollar settlement was obtained for the class
of purchasers of certain stock on NASDAQ;

In re Compact Disc Antitrust Litigation, MDL No. 1216 (C.D. Cal.). Represented direct
purchasers of compact discs on price-fixing allegations;

in re Infant Formula Antitrust Litigation, MDL No. 878 (N.D. Fla.);

Carbon Dioxide Antitrust Litigation, MDL No. 940 (M.D. Fla.);

Catfish Antitrust Litigation, MDL No. 928 (N.D. Miss.);

Chain Link Fence Antitrust Case, Master File No, CLF-1 (D. Md.);

Ocean Shipping Antitrust Litigation, M.DL No. 395 (S.D.N.Y.);

High Fructose Corn Syrup Antitrust Litigation, MDL No. 1087 (C.D. II.);

Commercial Tissue Products Antitrust Litigation, MDL No, 1189 (N.D. Fla.);

in re Bulk Popcorn Antitrust Litigation, No. 3-89-710 (D. Minn.);

in re Polypropylene Carpet Antitrust Litigation, MDL No. 1075 (N.D. Ga.);

Drill Bits Antitrust Litigation, No. H-91-627 (S.D. Tex.);

Paper Systems Inc., et al. v. Mitsubishi Corp., et al. (E.D. Wisc. );

dn re Flat Glass Antitrust Litigation, MDL No. 1200 (W.D. Pa.);

In re Lease Oil Antitrust Litigation, MDL No. 1206;

Jn re Cigarette Antitrust Litigation, MDL No. 1342 (N.D. Ga.) (Served as co-lead counsel
representing class of cigarette purchasers in price-fixing case against tobacco industry.);

In re Mercedes -Benz Antitrust Litigation, Master File No. 99-4311 (AMW);

In re Linerboard Antitrust Litigation, MDL. No. 1261 (E.D. Pa.).

Monopolization

in re Smokeless Tobacco Antitrust Litigation, Civ. A. Nos. 00-1415 and 00-1454 (D.D.C.),
CMHT represents direct purchasers of smokeless tobacco against United States Tobacco Co.,;

in re Microsoft Corp. Antitrust Litigation, MDL No. 1332 (D. Md.), CMHT is representing
putative classes of direct purchasers of Microsoft operating system software and applications
software;

Amo Marine Products, Inc., et al. v. Brunswick Corp., No. 99-243 (D. Minn.). Represented
nationwide class of boat dealers on claims of monopolization of the inboard and stern drive
marine engine market;

Chastain y. AT&T, Civ. Action No. 2088-70 (D.D.C.). Represented small independent
interconnect telephone companies;

Societe Liz v. Charles of the Ritz, Civ. Action No. 85-1129 (D.D.C.). Represented a small retailer
against one of the world’s largest perfume manufacturers alleging monopolization of the perfume
market;

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Cox v. Champion. Represented a small lumber company against an international pulp
manufacturer alleging a price-fixing scheme and monopolization of the lumber market.

Tying

McGeorge v. British Leyland (E.D. Va.). Represented an automobile dealership charging a British
automobile manufacturer with an illegal tie-in;

dn re Clozapine Antitrust Litigation (N.D. Ill). Represented class of purchasers of psychotropic
drug in tying case that resulted in settlement representing nearly 100 percent of damages.

Group Boycott

in re Lower Lake Erie Iron Ore Antitrust Litigation, MDL No. 587 (E.D. Pa.). Represented a
small trucking company in a group boycott case which after trial resulted in a $12 million award
to the client.

Territorial Allocation

in re Cardizem CD Antitrust Litigation, MDI. No. 1278 (E.D. Mich.). Represented a putative
class of indirect purchasers alleging unlawful efforts to delay entry of generic prescription drug
competition;

In re Terazosin Hydrochloride Antitrust Litigation, MDL No. 1317 (S.D. Fla.). Represented a
putative class of indirect purchasers against brand name drug manufacturer for delaying entry of
generic substitutes.

Supply Restrictions

Erie Forge and Steel, Inc. v. Cyprus Minerals Co., et al., No. 94-404 (W.D. Pa.). (Nationwide
class action on behalf of direct purchasers alleging conspiracy to restrict production of
molybdenum. );

California Sales and Marketing v. Satoshi Iue, No. C738971 (Cal. Sup. Ct.). Retained by 33 sales
representatives of the Sanyo Fisher (USA) Corporation alleging, inter alia, conspiracy among
Japanese VCR manufacturers to under-supply the United States market with low-end VCRs.

Exclusive Dealing

In re Lorazepam and Clorazepate Antitrust Litigation, MDL No. 1290 (D.D.C.). Represented a
putative class of direct purchasers alleging conspiracy to tie up supply of prescription drug active
ingredient.

Franchise

Call Carl, Inc. v. British Petroleum, Civ. No. 73-1059-4 (D. Md.). Retained by independent
gasoline dealer franchisees of British Petroleum alleging unlawful termination;

Vaughn y, General Foods (N.D. Ind.). Retained by Burger Chef franchisees who claimed a
fraud/deception scheme in their franchise relationship;

Entre Computers (E.D, Va.). Retained by franchisees alleging grey market sales/resale price
maintenance by their franchiser.

Biographical sketches of the firm’s antitrust partners follow:

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MICHAEL D, HAUSFELD

Michael D, Hausfeld is one of the country’s top civil litigators, specializing in antitrust, human
rights, employment discrimination, environmental and consumer rights cases.

Mr. Hausfeld was recently recognized by the National Law Journal as one of the “Top 100
Influential Lawyers in America,” In a recent opinion by Chief J udge Edward Korman of the Eastern
District of New York, Mr. Hausfeld was characterized as one of the two “leading class action lawyers in
the United States.”” He has been described by one of the country’s leading civil rights columnists, Nat

Hentoff, as an “extremely penetrating lawyer;” and by a colleague in the Washington Post, as a lawyer

who “has a very inventive mind when it comes to litigation. He thinks of things most lawyers don’t

because they have originality pounded out of them in law school.” The New York Times refers to Mr.

Hausfeld as one of the nation’s “most prominent antitrust lawyers.” The Washingtonian has listed Mr.
Hausfeld for the past several years as one of Washington’s 75 best lawyers, saying he “consistently brings
in the biggest judgments in the history of law” and that he is “a Washington lawyer determined to change
the world -and succeeding.”

The Wall Street Journal, in a recent profile of Mr. Hausfeld, noted that he has added an ever-
broadening portfolio of social reform cases to his successful practice. Mr, Hausfeld was among the first
lawyers in the U.S. to assert that sexual harassment was a form of discrimination prohibited by Title VII
and successfully tried the first case establishing that principle. Since then, his practice has included
successful representations of Native Alaskans affected by the 1989 Exxon Valdez oil spill. In 1996,
focusing the attention of the nation on racism in corporate America, he negotiated a historical $176
million racial bias settlement from Texaco, Inc. In Friedman v. Union Bank of Switzerland, et al., Mr.
Hausfeld represented a class of victims of the Holocaust whose assets were wrongfully retained by private

Swiss banks during or after World War II. The case raised novel issues of international banking law and
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international human rights law. He has successfully represented the Republic of Poland, the Czech
Republic, the Republic of Belarus, the Republic of Ukraine and the Russian Federation, on issues of slave
and forced labor for both Jewish and non-Jewish victims of Nazi persecution during World War II. Mr.
Hausfeld currently represents Jubilee 2000, Khulamini, and other NGOs in litigation involving abuses
under apartheid law in South Africa.

Mr. Hausfeld has had an extremely varied antitrust litigation practice. He has a long record of
successful litigation, both on behalf of individuals and classes, in cases involving monopolization, tie-ins,
exclusive dealings and price-fixing. Over his career, his aggregate multi-billion dollar recoveries have
been against oil companies, telecommunication companies, paper manufacturers, pharmaceutical
companies, auto manufacturers, and electronic manufacturers. Mr. Hausfeld and his firm are currently
co-lead counsel in courtroom antitrust assaults on manufacturers of genetically engineered foods,
managed healthcare companies, bulk vitamin manufacturers, tobacco companies, technology industries,
auto racing monopolies, and international industrial cartels. He is actively involved in ongoing
investigations into antitrust cases abroad, and was the only private lawyer permitted to attend and
represent the interests of consumers worldwide in the 2003 closed hearings by the EU Commission in the
Microsoft case.

Recent awards include the 2002 B’Nai Brith “Humanitarian of the Year” award; the Simon
Wiesenthal Center Award for Distinguished Service; and the U.S. Department of Energy’s Human Spirit
Award, presented “in tribute to a person who understands the obligation to seek truth and act on it is not
the burden of some, but of all; it is universal.”

Mr. Hausfeld was born in Brooklyn, New York in 1946 and was admitted to the bar of the District

of Columbia in 1969. Education: Brooklyn College (A.B., cum laude, 1966); the National Law Center,

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George Washington University (J.D., with honors, 1969). Order of the Coif. Member, Board of Editors,
George Washington Law Review, 1968-69. Adjunct Professor of Complex Litigation, Georgetown
University Law Center, 1980-87. Adjunct Professor, George Washington University, 1996-98. Board of

Directors, George Washington University Law School, 1998 to present.

DANIEL A. SMALL

Daniel A. Small is a 1981 graduate of Colgate University (B.A., cum laude); he graduated from
Washington College of Law in 1986. He joined Cohen, Milstein, Hausfeld & Toll, P.L.L.C. after serving
as law clerk to the Honorable Roger Vinson, U.S. District J udge for the Northern District of Florida (1986
to 1988). He specializes in antitrust litigation and has represented plaintiffs and plaintiff classes in
numerous antitrust actions. He is co-chair of the firm’s Antitrust Practice Group.

Mr. Small has served as lead counsel for the plaintiffs in multiple antitrust class actions. The
court appointed Mr. Small lead counsel in Paper Systems Inc., et al. v. Mitsubishi Corp., et al., No. 96-C-
0959 (E.D. Wisc.), involving an international conspiracy to fix prices of jumbo roll thermal facsimile
paper. The defendants settled for over $20 million, substantially in excess of the $14 million in damages
estimated by the plaintiffs’ expert. Mr. Small was co-lead counsel for the end-user plaintiffs in In re
Buspirone Antitrust Litig., MDL No. 1413 (S.D.N.Y.). The case, which presented monopolization and
market allocation claims against a brand name drug manufacturer for delaying generic entry, settled for
$90 million. Mr. Small is lead counsel for the plaintiffs in Pease, et ai. v. Jasper Wyman & Son, et al,
No. CV-00-015 (Super, Ct., Knox Cty., Me.), a price-fixing class action on behalf of Maine wild
blueberry growers. The case was tried in November 2003. The jury returned a verdict for the plaintiff
class in the amount of $18.68 million, which after trebling and the addition of attorney fees and other

costs, resulted in a judgment of approximately $60 million,
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Mr. Small has substantial appellate experience, including briefing and arguing Free v. Abbott
Laboratories, No. 99-391, in the United States Supreme Court. The case presented the issue of whether a
supplemental jurisdiction statute overruled Zahn v. International Paper Co. The Court split 4-4, with
Justice O’Connor recusing herself. Mr. Smali successfully briefed and argued appeals before the Seventh
Circuit Court of Appeals in Jn re Brand Name Prescription Drug Antitrust Litig., 123 F.3d 599 (7th Cir,
1997), on the issue of whether the district court had subject matter jurisdiction, and in Paper Systems, Inc.
v. Nippon Paper Industries Co., Lid., 281 F. 3d 629 (7th Cir. 2002), holding that the federal direct
purchaser rule does not immunize a defendant from liability for the direct sales of its co-conspirators.

Mr. Small briefed and argued the appeal in Mack v, Bristol-Myers Squibb Co., 1996-1 Trade Cas. (CCH)
71,401 (Fla. 1st DCA 1996), the first opinion construing the Florida Deceptive and Unfair Trade Practices
Act to permit indirect purchasers to sue for damages for antitrust violations.

Among the additional antitrust cases on which Mr. Small has worked or is working are: /n re
Infant Formula Antitrust Litig., MDL No. 878 (N.D. Fla.) (as well as 18 state-court actions on behalf of
indirect purchasers of infant formula); Drill Bits Antitrust Litig., No. H-91-627 (S.D. Tex.); in re Lease
Oil Antitrust Litigation, MDL No. 1206; In re Lorazepam & Clorazepate Antitrust Litig., MDL No. 1290
(D.D.C.); In re Terazosin Hydrochloride Antitrust Litig., No. 99-MDL-1317 (S.D, Fla.); in re Microsoft
Antitrust Litig., MDL No. 1332 (D. Md.) (in which he is serving as chair of the experts’ committee);
Ferko vy, NASCAR, No. 4:02-CV-50 (E.D. Tex.) {asserting monopolization and group boycott claims
regarding the allocation of Winston Cup race dates); and Rasmussen v. General Motors, No. 03-CV-1828
(Cir. Ct., Milwaukee Cty., Wisc.) (and related cases in eight other states) (state-wide class actions
alleging conspiracy among auto manufacturers and distributors to maintain dual price system between

United States and Canada).

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Mr. Small has been admitted to practice in Maryland and the District of Columbia.

PAUL T. GALLAGHER

Paul Gallagher’s practice concentrates on complex litigation involving antitrust violations,
international commercial violations, and human rights abuses. In the antitrust area, his cases have
involved the successful prosecution of litigation against manufacturers of explosives for price-fixing,
which resulted in a $70 million settlement; the ongoing prosecution of litigation against Archer Daniels
Midland and other manufacturers of high fructose com syrup for alleged price-fixing; abuse of monopoly
claims against United States Tobacco Company and price-fixing claims against Mercedes-Benz and 24
New York region dealers.

In the last several years, Mr. Gallagher has developed an expertise in issues involving
international antitrust litigation. He played a major part in the International Auction Houses price-fixing
litigation, which recently settled for $40 million. The International Auction Houses Litigation is the first
time that a class, comprised solely of non-U.S. citizens, has ever obtained compensation under the U.S.
antitrust laws. He also argued and obtained a favorable D.C. Circuit Court of Appeals decision in the
International Vitamins Litigation, which has had a significant impact on antitrust jurisprudence and was
characterized by one prominent academician as “one of the most expansive antitrust decisions of the last
30 years.”

In the human rights area, Mr. Gallagher played a prominent role in the historic litigation against
the major Swiss banks for withholding assets deposited by persecutees fleeing the Nazis prior to and
during the Second World War, which was settled for $1.25 billion. He also played an active role in the
litigation and resolution of claims against the German government and German industry for, among other

claims, the use of persecuted persons to perform slave labor during the War. That case resulted in a

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settlement of over $5.2 billion. Mr. Gallagher was honored by the Government of Poland for his
significant contributions to this historic effort. He also successfully prosecuted human rights litigation
against the French banks for their collaborative role with the Nazi Regime, which resulted in multi-
million dollar settlements.

Mr. Gallagher graduated from the Marshall-Wythe School of Law of the College of William &
Mary in 1992. He was a member of the William & Mary Law Review, as well as the Law Review of the
University of Cincinnati School of Law, where he attended the first year of law school, ranked first in his
class, and received several American Jurisprudence Awards for academic excellence.

Mr. Gallagher is admitted to practice in Washington, D.C., Virginia and numerous federal district

and circuit courts across the United States.

LINDA P. NUSSBAUM

Linda P. Nussbaum joined CMHT as the resident partner of the New York City office in March,
2001 and is a member of the antitrust group. She has had extensive experience practicing in the areas of
complex litigation and class actions, with an emphasis in antitrust.

Ms. Nussbaum received her undergraduate degree magna cum laude from Brooklyn College of
the City University of New York in 1974, where she was a member of Phi Beta Kappa. She received her
law degree from the National Law Center, George Washington University, where she graduated with
honors in 1977. She received an LL.M. degree in Taxation from the New York University School of Law
in 1984. Ms. Nussbaum is a member of the American Law Institute. Ms. Nussbaum has lectured at the
ABA Antitrust Section Spring Meeting and at The University of San Francisco Pharmaceutical Antitrust

Seminar.

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Ms. Nussbaum is presently lead or co-lead counsel in a number of significant class actions
pending throughout the U.S. including Jn re Remeron Direct Purchaser Antitrust Litigation, Master No.
03-CV-0085 (FSH) (D.N.J.); Jn re Microcrystalline Cellulose Antitrust Litigation, MDL Docket No.
1402; In re K-Dur Antitrust Litigation, MDL Docket No 1419; Jn re Plastics Additives Antitrust
Litigation, Master Docket No. 03-CV-2038-LDD (E.D.Pa.); and North Shore Hematology-Oncology
Associates P.C. y. Bristol-Myers Squibb Co., Civ. Action No. 1:04cv00248 (EGS) (D.D.C.).

She has recently served as a co-lead counsel in a number of antitrust class actions that have
resolved very favorably for the plaintiff class including Jn re Lorazepam and Clorazepate Antitrust
Litigation, MDL 1290 (D.D.C.), where in approving the settlement Chief Judge Hogan said "Obviously,
the skill of the attorneys, and I'm not going to spend the time reviewing it, I'm familiar with counsel, and
they, as I said, are among the best antitrust litigators in the country."; /n re Relafen® Antitrust Litigation,
No. 01-12239 (WGY) (D. Mass); Oncology & Radiation Associates, P_A. v. Bristol Myers Squibb Co., et
al., Case No. 1:01CV02313 (D.D.C.); and North Shore Hematology-Oncology Associates P.C. v.
Bristol-Myers Squibb Co., Civ. Action No. 1:04cv00248 (EGS) (D.D.C.).

Ms. Nussbaum has been admitted to practice in New York and the District of Columbia.

STEWART M. WELTMAN

Stewart M. Weltman joined Cohen, Milstein, Hausfeld & Toll, P.L.L.C. as a partner in the
Antitrust Practice Group in December 2002. Prior to joining CMHT, Mr. Weltman had distinguished
himself as a complex litigator in Chicago, Hlinois, first as a partner with Much, Shelist, Freed, et al., and
over the last decade as the managing partner and owner of Stewart M. Weltman P.C. During his over 24

years of practicing as a complex litigator, Mr. Weltman has had the opportunity to represent both

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individual plaintiffs, plaintiff classes and defendants in antitrust, securities fraud, consumer fraud, and
accounting malpractice.

Prior to joining CMHT, Mr. Weltman was class counsel in a number of antitrust matters:
Industrial Gas Antitrust Litigation, the Records and Tapes Antitrust Litigation, and the Glass Containers
Antitrust Litigation. He is currently acting as co-lead counsel in: /n re Carbon Black Antitrust Litigation
(MDL Docket No. 1543); In re EPDM Antitrust Litigation (MDL Docket No. 1542); and in re Pressure
Sensitive Labelstock Antitrust Litigation (MDL Docket No. 1556). He is also currently litigating SckA¢
Farm Supply v. Pharmacia, et al. (E.D. Mo.), an antitrust class action involving price-fixing and market
allocation in the non-selective herbicide market, including glyphosate. Mr. Weltman also assisted lead
partner, Michael Hausfeld, in the recently completed Choline Chloride price-fixing trial in /n re Vitamins
Antitrust Litigation, MDL No. 1285 (D.D.C.).

In the area of securities fraud, Mr. Weltman has served as co-lead counsel in a class action that
resulted in an aggregate recovery of approximately $26,5 million from two defendants -- a large Kansas
City law firm and one of the big five accounting firms. He served as Derivative Plaintiffs’ Lead Counsel
in a securities fraud and derivative/breach of fiduciary duty case in which a $33 million settlement was
reached with the former directors and officers of the Public Service Company of New Mexico.

Mr. Weltman served as co-lead counsel in Benfield v. Steindler, et al. and General Electric Co., (C-1-92-
729) (S.D. Ohio), a derivative action in which a settlement of $21 million was reached on behalf of the
plaintiffs. He has represented Pacific Life Insurance Company as an individual plaintiff in a securities
fraud action arising out of the Republic Bank failure. While at CMHT, he continues to represent Pacific
Life Insurance Company as an individual plaintiff investor in the WorldCom securities fraud litigation
and is co-lead counsel in Dioogatch v. Mercury Finance, et al., 97 CH 8790 (Circuit Court of Cook
County, Chancery Division).

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Mr. Weltman also has served as co-lead counsel in several consumer fraud class action suits,
including Riverol, et al. v. Disney, et al. (Florida State Court, Miami), a class action that involved
homeowners whose homes were defectively constructed and that resulted in a settlement of $10.5 million,
and Shifris v. Novartis Corporation, 97 CH 3331 (Circuit Court of Cook County, Chancery Division), a
nationwide false advertising/marketing class action that settled in excess of $4 million using fluid
recovery. He has successfully tried or prosecuted to settlement numerous accounting malpractice cases
on behalf of individual clients.

Mr. Weltman graduated from The John Marshall Law School (J.D., High Distinction, 1978)
where he was a member of the Law Review. Since graduating from The John Marshall Law School, he
has returned as an adjunct instructor, and as a lecturer and panel member for numerous FDIC and RTC
investigator training seminars. In addition, he has been a lecturer and panel member for AICPA
Litigation Support Section seminars where he has lectured on accountants’ liability issues and has
demonstrated the utilization of expert witnesses. Mr. Weltman has also been a lecturer for the Illinois
Institute for Continuing Legal Education on securities fraud litigation and accountants’ malpractice and
has co-authored an article for the ABA Antitrust magazine analyzing the Chicago School’s influence on
the Seventh Circuit’s antitrust jurisprudence as of 1989.

Mr. Weltman is a member of the Iilinois Bar and is admitted to practice in numerous federal
district and circuit courts across the United States. He is currently serving as the partner in charge of the

firm’s Chicago office,

The firm’s other antitrust attorneys are:

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RICHARD A. KOFFMAN

Richard A. Koffman joined CMHT as Of Counsel in April, 2003 and is a member of the Antitrust
Practice Group. He has extensive experience in complex litigation and class actions, with an emphasis in
antitrust and civil rights litigation,

Mr. Koffman came to CMHT after four years as a senior trial attorney with the Antitrust and Civil
Rights Divisions of the United States Department of Justice. Prior to joining the Department of Justice,
he spent seven years in private practice: first with Fine, Kaplan and Black in Philadelphia, Pennsylvania,
working primarily on antitrust class actions and other complex commercial litigation, and then with
Bernabei & Katz in Washington, D.C., handling employment discrimination cases. Mr. Koffman was
actively involved in litigating several successful antitrust class actions on behalf of plaintiffs, including Jn
re Nasdaq Market-Makers Antitrust Litigation, MDL No. 1023 (S.D.N.Y.); Jt re Polypropylene Carpet
Antitrust Litigation, M.D.L. No. 1075 (N.D. Ga.); /n re Commercial Explosives Antitrust Litigation, MDL
No. 1093 (D. Utah); and Jn re Drill Bits Antitrust Litigation, C.A. No. H-91-627 (S.D. Tex.).

Mr. Koffman is a graduate of Yale Law School (J.D., 1990), where he was a Senior Editor of the
Yale Law Journal, and Wesleyan University (B.A., with honors, 1986), After law school, he served as a
judicial clerk for U.S. District Judge James B. McMillan of the Western District of North Carolina, and
for U.S. Circuit Judge Anthony J. Scirica of the U.S. Court of Appeals for the Third Circuit. Mr.
Koffman is a member of the bars of the District of Columbia, the United States Supreme Court, the U.S.
Court of Appeals for the Third Circuit, and the U.S. District Court for the Eastern District of
Pennsylvania.

SUSAN R. SCHWAIGER
Susan R. Schwaiger joined CMHT as Of Counsel in April 2001 and is a member of the Antitrust

Practice Group practicing in the New York City office. She has practiced in the area of complex

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litigation and class actions, with an emphasis in antitrust, securities and civil rights litigation.

Prior to joining CMHT, Ms. Schwaiger was an associate in litigation at Shearman & Sterling LLP
and Pomerantz Haudek Block Grossman & Gross LLP in New York City. At Shearman & Sterling, she
was a key member of the litigation team representing Shannon Faulkner and several other women in their
successful challenge to the all-male admissions policy of The Citadel Corps of Cadets in Charleston,
South Carolina. After a total of 19,000 hours spent over five years of litigation and three appeals, women
were admitted to The Citadel and the court awarded $4.6 million in fees to plaintiffs’ counsel as a result
of the defendants’ “scorched earth tactics.”

Ms. Schwaiger currently works on a number of major mullti-district antitrust litigations, including
Jn re Lorazepam and Clorazepate Antitrust Litigation, MDL Docket No. 1290 (D.D.C.); Jn re
Microcrystalline Cellulose Antitrust Litigation, MDL Docket No. 1402 (E.D. Pa.); In re K-Dur Antitrust
Litigation, MDL Docket No. 1419 (D.N.J.); In re Methionine Antitrust Litigation, MDL Docket No. 1311
(N.D. Cal.); Za re Buspirone Antitrust Litigation, MDL Docket No. 1410 (S.D.N.Y.); and Jn re
Automotive Refinishing Paint Antitrust Litigation, MDL Docket No.1426 (E.D. Pa.). At the Pomerantz
firm she worked on Jn re Sorbates Direct Purchaser Antitrust Litigation, No. C98-4886 (N.D. Cal.),
which resulted in the creation of an $82 million partial settlement fund.

Ms. Schwaiger graduated cum laude from Brooklyn Law School in 1992, where she was a
member of the Brooklyn Law Review. She received her bachelor’s degree in 1971 from the University of

Tennessee and a master’s degree from the University of Kentucky in 1973.

JACQUELINE E. BRYKS

Jacqueline E. Bryks joined CMHT in January 2002, where she is Of Counsel in the firm’s New

York City office. She has extensive experience practicing in the area of complex litigation, with a

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particular emphasis in antitrust, securities, intellectual property and employment matters. Ms. Bryks has
been involved in trials before juries and judges as well as in hearings before arbitrators and mediators.

Ms. Bryks received her undergraduate degree from Colgate University in 1985. She received her
law degree magna cum laude from Brooklyn Law School in 1992, where she was as an Executive Editor
of the Law Review. Directly after law school, Ms. Bryks served as a law clerk to the Honorable Leonard
D. Wexler, then U.S. District Judge for the Eastern District of New York. Prior to joining CMHT, Ms.
Bryks was associated with Sullivan & Cromwell. While at Sullivan & Cromwell, Ms. Bryks was

recognized by the Legal Aid Society of the City of New York for her outstanding pro bono service.

STEVEN H. SCHULMAN

Steven Schulman joined CMHT in 2004 as Of Counsel in the antitrust group. A graduate of
Brandeis University (B.A., cum laude, 1989) and the Northwestern University School of Law (J.D., cum
laude, 1994), Mr. Schulman came to CMHT after nearly ten years at Latham & Watkins in Washington,
DC. He is currently counsel in a number of price-fixing cases, including fn re NBR Antitrust Litigation
(W.D. Penn.),

Mr. Schulman has broad experience in complex antitrust matters. Most recently, he served as
counsel to HCA Healthcare defending state antitrust claims in Utah State Court, winning summary
judgment for HCA on all counts in a case involving the legality of contracts between hospitals and
managed care organizations. Mr. Schulman has also acted as counsel on a number of other antitrust
matters, including FTC v. Libbey (D.D.C.), FTC v. Swedish Match (D.D.C.), ATI v. Telefonos de Mexico
(W.D, Tex.) and Alliant TechSystems v. United Defense (Minn. Dist. Ct.),

Mr. Schulman also has extensive experience in white collar criminal and corporate investigations.

He represented the Salt Lake Organizing Committee for the Olympic Winter Games of 2002 in its

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defense of a federal criminal probe into alleged bribery in connection with the bid for the 2002 Olympic
Games. He also represented the Board of Directors of the Ford Motor Company in its investigation of
Explorer rollovers caused by Firestone tire tread separations.

From 2001-2004, Mr. Schulman served as Latham & Watkins’ first Pro Bono Counsel, directing
the world’s largest law firm pro bono practice. Under his leadership, Latham more than tripled its pre
bono hours, and the firm received a number of awards, including the ABA’s Pro Bono Publico Award in
2003. For his work, Mr. Schulman was featured on the cover of the December 2001 issue of The

American Lawyer.

Mr. Schulman also specializes in international human rights litigation, and has represented more
than two dozen refugees seeking asylum in the United States. From 2001-2004, he acted as class counsel
in Flores v. Ashcroft for all refugee children in the custody of the United States government. Mr.
Schulman serves on the Washington Council of Human Rights First, the Legal Advisory Board of the
Capital Area Immigrant Rights Coalition, and the ABA Commission on Immigration Practice, Policy and
Pro Bono. He is also co-chair of the ABA Section of Litigation Pro Bono & Public Interest Committee.

Mr. Schulman is admitted to a number of courts, including the District Court for the District of

Columbia and the United States Court of Appeals for the Fourth Circuit.

DOUGLAS J. MCNAMARA

Douglas J. McNamara graduated from SUNY Albany (B.A., summa cum laude, 1992) and New
York University School of Law (J.D. 1995). Following law school, Mr. McNamara worked three years at
New York City’s Legal Aid Society, defending indigent criminal defendants at trial and on appeal.
Subsequently, he joined the law firm of Amold & Porter, specializing in pharmaceutical and product

liability cases. He has authored two law review articles: Buckley, Imbler and Stare Decisis: The Present

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Predicament of Prosecutorial Immunity and An End to Its Absolute Means, 59 Alb. L. Rev. 1135 (1996);
and Sexual Discrimination and Sexual Misconduct: Applying New York’s Gender-Specific Sexual
Misconduct Law to Minors, 14 Touro L. Rev. 477 (Winter 1998).

Mr. McNamara joined Cohen, Milstein, Hausfeld & Toll, P.L.L.C. in 2001, where he practices in
the firm’s Consumer Products and Antitrust Practice Groups. Mr. McNamara is a member of the New

York bar, and admitted in the Southern and Eastern Districts of New York.

CHARLES E. TOMPKINS

Charles Tompkins graduated from Colgate University (B.A., magna cum laude, 1992) and the
University of Virginia School of Law (J.D. 1997). Following law school, Mr. Tompkins was an associate
with the Washington, D.C. office of Akin, Gump, Strauss, Hauer & Feld, L.L.P. While at Akin, Gump,
Mr. Tompkins focused primarily on complex employment class action litigation.

Since joining Cohen, Milstein, Mr. Tompkins has specialized in representing employees in
complex employment actions alleging violations of the Fair Labor Standards Act and the Employee
Retirement Income Security Act, as well as in representing plaintiffs in antitrust class actions alleging
violations of both federal and state antitrust law. He is currently involved with, among other matters, the
following employment litigation: MH. Fox, et al. v. Tyson Foods, Inc., Case No. CV-99-TMP-1612-M
(N.D. Ala.), and Leona Trotter, et al. v. Perdue Farms, Inc., et al., Case No. 99-893-RRM (D. Del.). In
addition, Mr. Tompkins is involved in the following antitrust actions: Nate Pease, et al. v. Jasper Wyman
& Son, et al., Civil Action No. 00-015 (Knox Cty., Me.), and Paper Systems, Inc., et al. v. Mitsubishi
Corp., et al., Civil Action No. 96-C-0959 (E.D. Wisc.).

Recently Mr. Tompkins was involved in the briefing and argument of Free v. Abbott

Laboratories, No. 99-391, before the Supreme Court of the United States, and in the litigation of Amo

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Marine Products, Inc. v. Brunswick Corp., Civil Action No. 99 CV 243 (D. Minn.}), an antitrust action
that was settled successfully in 1999. Mr. Tompkins has been admitted to practice in New York,
Washington, D.C. and the United States District Court for the District of Columbia.

BRIAN A. RATNER

Since joining Cohen, Milstein in early 2001, Brian Ratner has specialized in complex antitrust
itigation. Mr. Ratner has worked extensively on the matter of /n re Vitamins Antitrust Litigation, MDL
No. 1285 (D.D.C.) on behalf of two certified classes of bulk vitamin direct purchasers who were
overcharged as a result of a ten year global price-fixing conspiracy. Mr. Ratner acted as one of the lead
associates in a recent trial in the case before Chief Judge Hogan of four of Class Plaintiffs’ remaining

unsettled Vitamin B4 (choline chloride) claims. At the conclusion of the trial, a federal jury unanimously

found in favor of the Class, awarding them $148,617,702 in trebled damages. The National Law Journal
ranked this verdict as the fifth largest in 2003.
Mr. Ratner is also currently involved in, among other matters: Empagran, S.A., et al. v.
f, Hoffmann-LaRoche, Lid., et al., Case No. 1:00 CV01686 (D.D.C.) (alleging global vitamins price-
fixing and market allocation conspiracy on behalf of foreign purchasers -- case is on appeal); Oncology &
Radiation Associates, P.A. v. Bristol-Myers Squibb Co., et al., Civil Action No. 1:01CV02313 (D.D.C.)
(Judge Sullivan finally approved settlement of $65.8 million in August 2003 in case alleging
anticompetitive conduct regarding the ovarian cancer brand drug Taxol); and Jn re Microsoft Corp.
Antitrust Litigation, MDL No. 1332 (D. Md.) (alleging monopolization of personal computer software).
Prior to joining Cohen, Milstein, Mr. Ratner worked for Jones, Day, Reavis & Pogue where he
focused on complex civil and commercial litigation, corporate securities litigation, and antitrust.
Specifically, he performed merger clearance and corporate counseling antitrust work related to the

CBS/Viacom and AOL/Time Warner mergers.

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Mr. Ratner graduated from Indiana University--Bloomington with a B.A. in Journalism (B.A.J.,
1996) and a second major in Political Science. At Indiana, he was a member of the Mortar Board
National Honor Society, did undergraduate work at Hebrew University in Jerusalem, Israel, and worked
on several political campaigns including the re-election campaign of former U.S. Senator Harris Wofford
(D-PA). In 1999, he obtained his law degree from the University of Pittsburgh School of Law (J.D.,
1999) where he was the Managing Editor of the Journal of Law and Commerce. During law school, Mr.
Ratner clerked for the Hon. Donetta W. Ambrose, U.S. District Court Judge for the Western District of

Pennsylvania.

MEGAN E. JONES

Megan E. Jones joined Cohen, Milstein, Hausfeld & Toll, P-L.L.C. in 2001. Prior to coming to
the firm, Ms. Jones litigated intellectual property matters and represented clients before Congress at a
Washington, D.C. law firm. While there, she authored several publications and presentations on Internet
regulation.

At Cohen, Milstein, Ms. Jones concentrates on antitrust litigation. She is currently involved in,
among other matters: Worldwide Basketball and Sport Tours, Inc., et al. y. Nat'l Collegiate Athletic
Ass'n, Civ. Act. No. C-2-00 1439 (S.D. Ohio), Jn re Graphite Electrodes Antitrust Litigation, No, 97-CV-
4182 (E.D. Pa.), and Jn re Cigarettes Price-Fixing Litigation, MDL No. 1342 (N.D. Ga.).

She received her B.A. in English from North Carolina State University in Raleigh, N.C. in 1995
(magna cum laude) and J.D. from the University of North Carolina at Chapel Hill School of Law in 1999.
During law school, she served as Article and Notes Editor of the Journal of the North Carolina Banking

Institute. In 1999, she was published in the journal as well. In addition, she competed as a member of the

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National Civil Trial Team. Ms. Jones also clerked for the Committee on the Judiciary, U.S. House of
Representatives.

She is a member of the Computer Law Association, the North Carolina Bar Association and the
American Bar Association. Also, she serves as an Executive Subcommittee Member of the ABA Young
Lawyer Division’s Children and the Law Committee. She is admitted to practice in the state of North

Carolina and the District of Columbia.

JUSTINE J. KAISER

Justine Kaiser joined Cohen, Milstein, Hausfeld & Toll, P.L.L.C. as an associate in 2001. She
focuses primarily on antitrust litigation and is currently working on, among other things, Jn re Buspirone
Antitrust Litigation, MDL No. 1413 (S.D.N.Y) (involving the drug BuSpar); /vax Corp. v. Akzo Nobel
Chemicals B.V., Case Nos, 01-1714, 02-0593 (D.D.C.) (involving organic peroxide chemicals); Jn re
Terazosin Hydrochloride Antitrust Litigation, MDL No. 1317 (S.D. Fla.) (involving the drug Hytrin); and
the Canadian Auto Litigation filed in numerous state courts across the country alleging anticompetitive
conduct among automobile manufacturers. Ms. Kaiser is also involved in the off-label promotion lawsuit
against Pfizer, Inc. involving its blockbuster drug Neurontin, Jn re Neurontin Marketing and Sales
Practices Litigation, MDL No. 1629. Ms. Kaiser’s pro bone work includes the representation of children
as a guardian ad litem in D.C. Superior Court. Prior to joining the firm, Ms. Kaiser served as a judicial
law clerk to the Honorable James P. Salmon, Court of Special Appeals for the State of Maryland (2000-
2001).

Ms. Kaiser graduated cum laude from The American University Washington College of Law in
2000, and graduated with honors in 1995 from Lehigh University. While in law school, Ms. Kaiser

served as a staff member on The American University Law Review and represented indigent clients in

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Landlord Tenant Court in D.C. Superior Court as part of the D.C. Law Students in Court Clinic.

Ms. Kaiser is admitted to practice in Maryland and the District of Columbia.

R. JOSEPH BARTON

Joseph Barton joined Cohen, Milstein, Hausfeld & Toll, P.L.L.C. as an associate in 2001. He
focuses primarily on antitrust, securities and ERISA litigation. Prior to joining the firm, Mr. Barton
served as a judicial law clerk to the Honorable Lenore C. Nesbitt, United States District Judge for the
Southern District of Florida (2000-2001).

Mr. Barton received his undergraduate degree from the College of William & Mary (B.A. 1991)
and graduated Order of the Coif from the College of William & Mary, Marshall-Wythe Schoo] of Law
(J.D. 2000). At William & Mary Law School, Mr. Barton received the Lawrence W. I’ Anson Award for
outstanding student scholarship, character and leadership, the William B. Spong Award for
professionalism and ethics, the Robert R. Kaplan Award for excellence in legal writing and Order of the
Barristers. He served on the editorial board of the William & Mary Law Review and was a staff member
of the William & Mary Bill of Rights Journal.

Mr. Barton is the author of Drowning in a Sea of Contract; Application of the Economic Loss Rule
to Fraud and Negligent Misrepresentation Claims, 41 Wm. & Mary L. Rev. 1789 (2000), and Utilizing
Statistics and Bellwether Plaintiff Trials: What do the Constitution and the Federal Rules of Civil
Procedure Permit?, 8 Wm. & Mary Bill Rts. J. 199 (1999). Prior to law school, Mr. Barton worked as a
paralegal for Cohen, Milstein, Hausfeld & Toll, P.L.L.C. from 1992 through 1997 and worked at the firm
as a summer associate in 1998.

Mr. Barton is licensed to practice in the State of California and the District of Columbia. He is a

member of the Association of Trial Lawyers of America and the American Bar Association.

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BRENT W. LANDAU

Brent W. Landau joined Cohen, Milstein, Hausfeld & Toll, P.L.L.C. as an associate in 2002. He
focuses primarily on antitrust and consumer protection litigation. Prior to joining the firm, Mr. Landau
served as a judicial law clerk to the Honorable Bruce W. Kauffman, United States District Court for the
Eastern District of Pennsylvania.

Mr. Landau graduated from the State University of New York at Binghamton (B.A., summa cum
laude, 1998), where he became a member of Phi Beta Kappa, and obtained his law degree from Harvard
Law School (J.D., cum laude, 2001). While in law school, he was co-chairperson of the Tenant
Advocacy Project and a supervising editor of the Harvard Journal on Legislation.

Mr. Landau is the author of State Employees and Sovereign Immunity. Alternatives and Strategies
Jor Enforcing Federal Employment Laws, 39 Harv. J. on Legis. 169 (2002), and State Bans on City Gun
Lawsuits, 37 Harv, J. on Legis. 623 (2000). He is admitted to practice in New York and the District of

Columbia.

STEIG D. OLSON

Steig Olson joined Cohen, Milstein, Hausfeld & Toll, P.L.L.C. as an associate in 2003. His
practice currently concentrates on the representation of plaintiffs in class actions alleging violations of
federal antitrust law. Prior to joining Cohen, Milstein, Mr. Olson clerked for the Honorable Barrington D.
Parker, Jr. of the United States Court of Appeals for the Second Circuit, and the Honorable Vaughn R.
Walker of the United States District Court for the Northern District of California. He graduated from the

Harvard Law School, magna cum laude, (J.D. 2001), and Vassar College (B.A., Philosophy, 1997).

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SEAN K. MCELLIGOTT

Sean K. McElligott joined Cohen, Milstein, Hausfeld & Toll P.L.L.C. as an associate in 2004, He
specializes in representing plaintiffs in antitrust class actions alleging violations of federal antitrust law.
Prior to joining Cohen, Milstein, Mr. McElligott was an associate with the New York office of Simpson
Thacher & Bartlett LLC where he focused primarily on complex securities litigation. He graduated from
Trinity College (B.A., Philosophy, 1996) and the Yale Law School (J.D. 2001).

Mr. McElligott is currently involved with, among other matters, the following antitrust litigation:
North Shore Hematology-Oncology Associates, P.C. v. Bristoi-Meyvers Squibb Co., Case No.
1:04CV00248 (D.D.C.) and In re Rubber Chemicals Antitrust Litigation, No. C-03-1496 (N.D. Cal.).

Mr. McElligott is admitted to practice in New York, Massachusetts and the United States District

Court for the District of Massachusetts.

CHRISTOPHER J. CORMIER

Christopher J. Cormier joined Cohen, Milstein, Hausfeld & Toll, P.L.L.C. as an associate in 2003.
He focuses primarily on antitrust litigation.

Mr. Cormier graduated from the University of Virginia (B.A. 1999) and from The American
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Cormier served as a judicial intern to the Honorable Deborah K, Chasanow, United States District Court
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Mr. Cormier currently is involved in, among other matters, the following antitrust cases: Jn re

Relafen Antitrust Litigation, Case No. 01-2239 (D. Mass.); in re Remeron Antitrust Litigation, Case No.

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03-CV-0085 (D.N.J.); and Nate Pease, et al., v. Jasper Wyman & Son, et al., Civil Action No. 00-015
(Knox Cty., Me.).

Prior to joining the firm, Mr. Cormier worked as an associate at a large Baltimore, Maryland law
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Mr. Cormier is admitted to practice only in Maryland. Supervised by principals of the firm.

MICHAEL W. BYRNE

Mr. Byrne joined Cohen, Milstein, Hausfeld & Toll P.L-L.C. as an associate in 2004. He focuses
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Mr. Byrne received his undergraduate degree from The University of Virginia (B.A. 1997) and
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George Washington University Law School, Mr. Byrne was a staff member of the International Law
Review and performed research for the National Committee to Prevent Wrongful Executions. Also while
attending law school, Mr. Byrne was a summer associate at Dorsey & Whitney, LLP, in Denver,
Colorado, and served as a Judicial Intern to the Honorable Peter H. Ney, Judge for the Colorado Court of
Appeals.

Mr. Byrne is licensed to practice law only in the state of Colorado. Supervised by principals of

the firm.

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